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                             UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF OHIO                           FfLE=:D
                                         EASTERN DIVISION
                                                                                .'nrg AUG 27 PH 2: 59
In Re:
         LEONARD NYAMUSEVYA                   ]
                                              ]
                                              ]       Chapter 7
                               Debtor.        ]
                                              ]       Judge John E. Hoffman, Jr.
                                              ]
                                              ]       (Trial by Jury Requested Hereon)
                                              ]       (Fed. R. Civ. P. 38 Right to a Jury Trial is
                                              ]       Requested Hereon)




      DEBTOR'S MOTION FOR CONTEMPT AGAINST CITIMORTGAGE, INC., I;OR
            WILLFUL AND RECKLESS AND WANTON AND MALICIOUS IN BAD
                FAITH VIOLATION OF THE MAY 01,2019 AUTOMATIC STAY.




         NOW COMES Debtor, Leonard Nyamusevya, (hereinafter the "Debtor,") and hereby


respectfully moves this Court for an Order Finding Citimortgage, Inc., in Contempt of Court because


Citimortgage, Inc., Willfully and Recklessly and Wantonly and Maliciously in Bad faith Violated the


May 01, 2019 Automatic Stay.


         Citimortgage, Inc., caused Debtor's residential real estate being unlawfully and


unconstitutionally listed and scheduled for a Franklin County Foreclosure Sheriff's Sale on May 03,


2019; consequently, Debtor filed this instant Case No: 2: 19-bk-52868, and was granted the May 01,


2019 Court Order for Bankruptcy Automatic Stay.


         At the June 28, 2019 hearing Citimortgage, Inc., admitted in open Court that Citimortgage,


Inc., was aware of and timely received the May 01, 2019 Order for Bankruptcy Automatic Stay.


At the June 28, 2019 hearing Citimortgage, Inc., conceded and admitted and attested and agreed that


Citimortgage, Inc., willfully and recklessly and wantonly and maliciously in bad faith violated the May


01, 2019 Automatic Stay, by unlawfully and unconstitutionally listing and scheduling for a Franklin


County Foreclosure Sheriff's Sale on July 05, 2019, after May 01, 2019, and in violation of the May


01, 2019 Automatic Stay.
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       In its Objection to Debtor's Plan by Citimortgage, Inc., (Doc. No. 41) which was filed on June


26, 2019, Citimortgage, Inc., conceded and attested and affirmed and agreed and stated as follows:


       "The May 03, 2019 foreclosure sale was postponed to July 05, 2019, however, the State Court
       foreclosure action was ultimately stayed due to Debtor Leonard Nyamusevya filing another
       Chapter 13 Petition pro se on May 01, 2019 under the within proceeding as Southern District of
       Ohio Case No. 2: 19-bk-52868.


       In open Court, at the June 28, 2019 hearing the Court and Debtor found that Citimortgage, Inc.,


violated the May 01, 2019 Automatic Stay, based on the above mentioned fact in Citimortgage, Inc.'s


Doc. No. 41, because after the May 01, 2019 Automatic Stay, the Court and Debtor concluded that the


May 03, 2019 foreclosure sale CANNOT be postponed to July 05, 2019 under existing law. The Court


still has to enter an Order finding Citimortgage, Inc., in contempt of Court, for violating the May 01,


2019 Automatic Stay; consequently, Debtor preserves this issue that the Court still has to enter an


Order finding Citimortgage, Inc., in contempt of Court, for violating the May 01, 2019 Automatic


Stay, for review upon a direct appeal.


       In open Court, at the June 28, 2019 hearing the Court and Debtor asked Citimortgage, Inc., to


state under which law or statute after May 01, 2019 the May 03, 2019 foreclosure sale was postponed


to July 05, 2019. The hearing on this matter was adjourned or put off or postponed (for a sentence) by


the Court, finding Citimortgage, Inc., in contempt of Court, for violating the May 01, 2019 Automatic


Stay. Based on the evidence before the Court, it is unquestionable that at the upcoming hearing, the


Court should conclude by finding Citimortgage, Inc., in contempt of Court, for violating the May 01,


2019 Automatic Stay.


       In this Court's record, on June 26, 2019 pursuant to Fed. R. Civ. P. 11 and Fed. R. Bankr. P.


9011 Citimortgage, Inc., conceded and attested and admitted and affirmed and agreed to the best of


Citimortgage, Inc.'s knowledge, information and belief that, "The May 03, 2019 foreclosure sale was


postponed to July 05, 2019." This fact alone is sufficient for the Court to conclude by finding


Citimortgage, Inc., in contempt of Court, for violating the May 01, 2019 Automatic Stay.



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       Debtor's causes of actions arose against Citimortgage, Inc., due to Citimortgage, Inc.'s willful


violation of the May 01, 2019 Automatic Stay. Debtor's residential real estate was trespassed by


several unknown people and Citimortgage, Inc.'s own agents. Debtor suffered from mental anguishes


and rapid heart rate. Debtor's health condition deteriorated. Debtor lost income and suffered starvation


and extreme fear. At the upcoming hearing Debtor will bring his witnesses and will provide the


evidences; consequently, the Court should grant this Motion.


Conclusion:


       Debtor prays that the Court should grant this Motion.


                                                                    Respectfully Submitted,


                                                                     1+�0�
                                                                    LEONARD NYAMUSEVYA
                                                                    Debtor- pro   se

                                                                    P.O. Box 314
                                                                    Reynoldsburg, Ohio 43068
                                                                    (614) 323-5898
                                                                    Email: nyaleo@hotmail.com




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21 DAY NOTICE OF DEBTOR'S MOTION FOR CONTEMPT AGAINST CITIMORTGAGE,
    INC., FOR WILLFUL AND RECKLESS AND WANTON AND MALICIOUS IN BAD
                 FAITH VIOLATION OF THE MAY 01, 2019 AUTOMATIC STAY.


          Notice is hereby given ofDebtor's Motion for Contempt Against Citimortgage, Inc., for Willful
and Reckless and Wanton and Malicious in Bad Faith Violation of the May 01, 2019 Automatic Stay.


          Your right may be affected. You should read these papers carefully and discuss them with
your attorney, if you have one in this Bankruptcy Case at bar. (If you do not have an attorney, you may
wish to consult one).


          If you do not want this honorable Court to grant this Motion, or if you want the Court to
consider your views on the Motion, then on or before 21 days from the date of the mailing of this
Notice, you or your attorney must file with the Court a written request for hearing or an objection to
the Motion stating therein your supported basis for objection. This pleading must be filed with:


                                  Clerk of Courts
                                  United States Bankruptcy Court of SouthernDistrict of Ohio
                                  170 North High Street
                                  Columbus, Ohio 43215.


          If you mail your response to the Court for filing, you must mail it early enough so that the
Court will receive it on or before the date stated above. You must also mail a copy to:


          Christal L. Caudill                             U.S. Trustee: Asst U.S. Trustee (Col)
          Chapter 7 Trustee                               Office of the U.S. Trustee
          3757 AttucksDrive                               170 North High Street, Suite 200
          Powell, Ohio 43065                              Columbus, Ohio 43215
          At clcaudill@caudill-law.com                    At ustpregion09.cb. ecf@usdoj.gov
          trusteepleadings@caudill-law.com

          If you or your do not take these steps, the Court may decide that you do not oppose the relief
sought in the Motion and may enter an Order Granting that relief sought without further hearing or
notice,
                                                                 Respectfully Submitted,




                                                                 LEONARD NVAMUSEVV A
                                                                Debtor -pro se
                                                                 P.O. Box 314
                                                                 Reynoldsburg, Ohio 43068
                                                                 (614) 323-5898
                                                                 Email: nyaleo@hotmail.com




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                                    CERTIFICATE FOR SERVICE

                                      t
       I hereby certify that on the 27 h day of August 2019, I served a true and accurate copy of the
foregoing Document and all attachments on the following by regular U.S. Mail, postage prepaid, or
electronically at the email address that is registered with the Court at:


Trustee:               Christal L. Caudill
                       Chapter 7 Trustee
                       3757 Attucks Drive
                       Powell, Ohio 43065
                       At Email:   clcaudill@caudill-law.com

U.S. Trustee:          Asst U.S. Trustee (Col)                 Citimortgage, Inc:      Mia L. Conner
                       Office of the U.S. Trustee              P.O. Box 5480
                       170 North High Street, Suite 200        Cincinnati, Ohio 45201-5480
                       Columbus, Ohio 43215                    At   sohbk@lsrlaw.com
                       At   ustpregion09. cb.ecj@usdoj.gov

Citimortgage, Inc:     Edward J. Boll                          Citimortgage, Inc:      Harry W. Cappel
                       P.O. Box 6030                           255 East Fifth Street, Suite 1900
                       Sioux Falls, SD 57117-6030              Cincinnati, Ohio 45202
                       At   sohbk@lsrlaw. com                  At   harry. cappel@dinsmore.com

Citimortgage, Inc:     Nathan H. Blaske                        Citimortgage, Inc:      Kara A. Czanik
                       255 East Fifth Street, Suite 1900       255 East Fifth Street, Suite 1900
                       Cincinnati, Ohio 45202                  Cincinnati, Ohio 45202
                       At   nathan.blaske@dinsmore.com         At   kara. czanik@dinsmore. com

DelevLaw.com:          Gregory D. Delev                        Citimortgage, Inc:      Rick D. DeBlasis
                       1050 Delta Avenue,# 1000                Lerner, Sampson and Rothfuss, LP A
                       Cincinnati, Ohio 45208                  120 East Fourth Street, Suite 800
                       At   bankruptcy@delevlaw. com           Cincinnati, Ohio 45202
                                                               At   rdd@lsrlaw. com

       No other parties are affected by this Motion.



Case mailing matrix, attached hereto as Exhibit A:
                                                              R   �+
       And by regular U.S. Mail, postage prepaid, upon the following, and those parties listed on the


                                                                                          �



                                                               LEONARD NYAMUSEVYA
                                                               Debtor -pro    se
                                                               P.O. Box 314
                                                              Reynoldsburg, Ohio 43068
                                                               (614) 323-5898
                                                              Email:   nyaleo@hotmail. com

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